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                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


IN RE:                                                   :       CHAPTER 7
                                                         :
ATLANTA LIGHT BULBS, INC.                                :       CASE NO. 22-52950-pMb
                                                         :
                         Debtor.                         :       JUDGE BAISIER
                                                         :
                                                         :
SUN COURT PARTNERS, LP                                   :
                                                         :
                         Movant,                         :
                                                         :
v.                                                       :     CONTESTED MATTER
                                                         :
ATLANTA LIGHT BULBS, INC.,                               :
                                                         :
                         Respondent.                     :
                                                         :

                                             NOTICE OF HEARING

          PLEASE TAKE NOTICE that SUN COURT PARTNERS, LP has filed its Motion for

Relief From Stay Pursuant to 11 U.S.C. § 362, for Rejection of Lease Nunc Pro Tunc and for

Abandonment of Any Property in the Leased Premises (the “Motion”) and related papers with

the Court seeking an order granting relief from the automatic stay so that it may take possession

of the leased premises and/or institute eviction proceedings against the Debtor, that the lease be

rejected, that any property remaining in the premises be deemed abandoned and that the

automatic stay, presently in effect, shall be modified.

          PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic

hearing for announcements on said Motion for Relief from Stay at the following number: 1-833-

568-8864; meeting id 161 706 9079 in Courtroom 1202, United States Courthouse, 75 Ted

Turner Drive, S.W., Atlanta, Georgia at 1:00 p.m. on June 13, 2022.



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          Matters that need to be heard further by the Court may be heard by telephone, by video

conference, or in person, either on the date set forth above or on some other day, all as

determined by the Court in connection with this initial telephonic hearing. Please review the

“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and

Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,

www.ganb.uscourts.gov for more information.

          Your rights may be affected by the Court’s ruling on these pleadings. You should read

these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy

case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court

to grant the relief sought in these pleadings or if you want the Court to consider your views, then

you and/or your attorney must attend the hearing. You may also file a written response to the

pleading with the Clerk at the address stated below, but you are not required to do so. If you file

a written response, you must attach a certificate stating when, how and on whom (including

addresses) you served the response. Mail or deliver your response so that it is received by the

Clerk at least two business days before the hearing. The address of the Clerk’s Office is: Clerk,

U. S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must

also mail a copy of your response to the undersigned at the address stated below.

          If a hearing on the motion for relief from the automatic stay cannot be held within thirty

(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of




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filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the

automatic stay remaining in effect until the Court orders otherwise.

Dated: May 26, 2022.                         /s/ Kristen Yadlosky
                                             Todd H. Surden
                                             Georgia Bar No. 774046
                                             Kristen Yadlosky
                                             Georgia Bar No. 779615
                                             Hartman Simons & Wood LLP
                                             400 Interstate North Parkway, SE
                                             Suite 600
                                             Atlanta, Georgia 30339
                                             (770) 955-3555
                                             todd.surden@hartmansimons.com
                                             kristen.yadlosky@hartmansimons.com
                                             Counsel for SUN COURT PARTNERS, LP




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                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


IN RE:                                                      :    CHAPTER 7
                                                            :
ATLANTA LIGHT BULBS, INC.                                   :    CASE NO. 22-52950-pMb
                                                            :
                         Debtor.                            :    JUDGE BAISIER
                                                            :
                                                            :
SUN COURT PARTNERS, LP                                      :
                                                            :
                         Movant,                            :
                                                            :
v.                                                          :   CONTESTED MATTER
                                                            :
ATLANTA LIGHT BULBS, INC.,                                  :
                                                            :
                         Respondent.                        :
                                                            :

 MOTION FOR RELIEF FROM THE AUTOMATIC STAY, FOR REJECTION OF THE
 LEASE NUNC PRO TUNC AND FOR ABANDONMENT OF ANY PROPERTY IN THE
                             PREMISES

          COMES NOW Sun Court Partners, LP (“Movant” or “Landlord”), by and through its

undersigned attorneys, and respectfully moves this Court for relief from the automatic stay

pursuant to 11 U.S.C. §§ 362, 365 and 554 and Bankruptcy Rules 4001, 9013 and 9014 by filing

this Motion for Relief from the Automatic Stay to take possession of leased premises, for

rejection of a commercial lease and for abandonment of any property in leased premises (the

“Motion”), showing the Court as follows:

                                                       1.

          This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157(a) and

11 U.S.C. §§ 362, 365 and 554.




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                                                  2.

          On or about September 30, 2020, Plaintiff, as landlord, and Debtor Atlanta Lights Bulbs,

Inc. (“Tenant” or “Debtor”), as tenant, entered into an unexpired, nonresidential, commercial

Office Lease (the “Lease”), for the premises located at Suite 460, 2 Sun Court, Peachtree

Corners, Gwinnett County, Georgia 30092 (the “Premises”), consisting of approximately 7,685

square feet.         A true and correct copy of the Lease is attached hereto as Exhibit “1” and

incorporated herein by reference.

                                                  3.

          Pursuant to the Declaration of Commencement Date executed by Landlord and Tenant

pursuant to Section 1.4 of the Lease, the Lease Commencement Date was January 1, 2021, and

the Lease Expiration Date is to be July 31, 2028 (the “Term”).

                                                  4.

          Tenant ceased operating from the Premises, directed its employees to operate from

another location, and removed all furniture, fixtures and equipment from the Premises.

Accordingly, the Lease and the Premises are not necessary to a Chapter 11 reorganization

because Tenant abandoned the Premises and stopped paying rent and other charges due under the

Lease.

                                                  5.

          The rent and other charges due under the Lease is not below market, and there is no value

to the Debtor’s Estate or the creditors to be obtained from assumption of the Lease.

                                                  6.

          This is a motion seeking relief from the automatic stay under section 362 of the

Bankruptcy Code for the purposes of allowing Movant to proceed with its state law remedies

with respect to the Premises, including without limitation evicting Debtor from the Premises.


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                                                 7.

          On April 15, 2022 (the “Petition Date”), an involuntary petition for relief under Chapter

11 of the United States Bankruptcy Code (“Bankruptcy Code”) was filed against Debtor.

Debtor has not appeared in the case or otherwise responded to the involuntary petition.

                                                 8.

          No rent or other amounts and charges due under the Lease have been paid since before

the Petition Date.

                                                 9.

          Movant is presently unable to take possession of the Premises and otherwise enforce its

contractual and statutory rights, unless the Court terminates, annuls, modifies or otherwise alters

the automatic stay under 11 U.S.C. § 362.

                                                  10.

          Movant is entitled to relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(1) “for

cause,” as well as under 11 U.S.C. § 362(d)(2) for debtor’s lack of equity in or value to the

creditors from the Lease or the Premises, in order to take possession of the Premises and/or to

evict the Debtor from the Premises pursuant to O.C.G.A. § 44-7-49 et seq. and the Lease.

                                                  11.

          Movant further requests that the Order for stay relief not be stayed during the fourteen

(14)-day period under Bankruptcy Rule 4001(a)(3) and the Order become effective immediately

upon entry.

                         ARGUMENT AND CITATION OF AUTHORITY

                                                  12.

          Under § 362(d)(2) of the Bankruptcy Code, the Court may grant relief from the automatic

stay if “the debtor does not have any equity in such property and such property is not necessary


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to an effective reorganization.” Debtor has abandoned the Premises and has not paid rent and

other amounts due under the Lease. Moreover, the Lease has no value to the Estate and has no

potential to benefit the creditors.

                                                 13.

          In addition, under the Bankruptcy Code, a landlord is not forced to extend credit to a

debtor/tenant by allowing the debtor/tenant to maintain possession without paying post-petition

rent. In re Sportsman’s Warehouse, Inc., 436 B.R. 308 (Bankr. Del. 2009) (stating that “the

mere fact that the Debtors are occupying the Landlord’s premises is sufficient, in and of itself, to

establish that payment for that use and occupancy is an actual, necessary expense of preserving

the Debtors’ estates under Section 503(b)(1).”), quoting In re Goody’s Family Clothing, 392

B.R. 604 (Bankr. Del. 2008), aff’d., 401 B.R. 656 (D. Del. 2009); In re DVI, Inc., 308 B.R. 703

(Bankr. Del. 2004).

                                                14.

          Under § 362(d)(1) of the Bankruptcy Code, the Court may grant relief from the automatic

stay “for cause.” “Cause” for relief from the stay is viewed as a broad and flexible concept.”

See In re M.J. & K. Co., 161 B.R. 586, 590 (Bankr. S.D.N.Y. 1993).

                                               15.

          Section 362(d)(1) expressly includes the “lack of adequate protection of an interest in

property” as cause for relief from the stay.

                                                 16.

          Here, there exists overwhelming cause to grant the requested relief from stay to allow

Movant to proceed with its state law remedies with respect to the Premises, including without

limitation evicting Debtor from the Premises.




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                                                17.

          Tenant is substantially in arrears on the rent and other amounts owed under the Lease

since before the Petition Date.

                                                 18.

          These defaults and failure to pay rent by Tenant demonstrate that Debtor has failed to

provide adequate protection under Section 362. Relief from stay should be granted due to the

complete absence of adequate protection of Movant’s interest in the Lease and Premises alone.

11 U.S.C. § 362(d)(1) (“for cause, including the lack of adequate protection of an interest in

property of such party in interest”); In re Gold Rush, II, Inc., 2005 Bankr. LEXIS 2757 (N.D. Ga.

2005) (granting relief from stay and dismissing petition based on debtor’s repudiated of pre-

petition obligations).

                                                 19.

          Section 365 of the Bankruptcy Code provides that a debtor or trustee “subject to the

Court’s approval, may assume or reject an executory contract or unexpired lease.” 11 U.S.C. §

365(a).       “This provision allows a trustee to relieve a bankruptcy estate of burdensome

agreements which had not been completely performed.” Stewart Title Guaranty Co. v. Old

Republic National Title Co., 83 F.3d 735, 741 (5th Cir. 1996).

                                                 20.

          The standard that courts apply to determine whether assumption or rejection of an

executory contract or unexpired lease should be authorized is the “business judgment standard.”

In re: Gardinier, Inc., 831 F.2d 974, 976 (11th Cir. 1987).

                                                 21.

          The Debtor and the Estate are no longer utilizing the leased premises. Therefore, the

Lease does not appear to have any value to the Estate. Moreover, it does not appear that the rent


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for the Premises is below market, or the Lease has any other assignment value to the Estate. The

recent pandemic and trend to remote work has made it even more unlikely that the Lease would

have any value to the Estate. Finally, the Estate would owe administrative rent to Landlord

starting on the Petition Date if the Debtor or Trustee wished to maintain the Lease. See Towers

v. Chickering & Gregory (In re: Pacific-Atlantic Trading Co.), 27 F.3d 401, 404 (9th Cir. 1994)

(finding that a debtor’s responsibilities under Section 365(d)(3) are mandatory and require that

the debtor timely perform all of its rental obligations under a lease).

                                                    22.

          In the interest of expediting the rejection of the Lease and making it a clear benefit to the

Estate, Landlord proposes through this Motion to make the rejection effective nunc pro tunc to

the Petition Date so as to allow the Bankruptcy Estate to avoid any obligation for administrative

rent.

                                                    23.

          To the extent that the Debtor left any property including but not limited to personal

property, furniture, fixture and/or equipment (collectively, “Property”), at the Premises,

Landlord requests that the Property be abandoned pursuant to 11 U.S.C. § 554 of the Bankruptcy

Code.

                                                    24.

          Section 554(a) of the Bankruptcy Code provides that “[a]fter notice and a hearing, the

Trustee may abandon any property of the Bankruptcy Estate that is burdensome to the Estate or

that is of inconsequential value and benefit to the Estate.” 11 U.S.C. § 554(a).




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                                                          25.

          Upon information and belief, Debtor removed its property from and abandoned the

Premises. Nevertheless, Landlord requests that any remaining Property be deemed abandoned

pursuant to 11 U.S.C. § 554 of the Bankruptcy Code.

                                                          26.

          Based upon the foregoing facts and circumstances, Landlord submits that the

abandonment of Property remaining in the Premises in the manner set forth above is supported

by sound business judgment and is necessary, prudent and in the best business interests of the

Debtor, the Estate, creditors and parties in interest

          WHEREFORE, Movant requests this Court enter an Order granting the following relief:

          (a)        That the Court lift the automatic stay to allow Movant to exercise its state-law

                     rights and remedies in and with respect to the Premises and any Property

                     remaining in the Premises, including without limitation taking all necessary steps

                     to evict Debtor from the Premises;

          (b)        That the Lease be deemed rejected;

          (c)        That any Property remaining in the Leased Premises be deemed abandoned;

          (d)        That this Order be enforceable immediately upon entry by the Court,

                     notwithstanding the requirement of Bankruptcy Rule 4001(a)(3); and




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          (e)        That the Court grant such other relief as is just and proper.

Dated: May 26, 2022.                                /s/ Kristen Yadlosky
                                                    Todd H. Surden
                                                    Georgia Bar No. 774046
                                                    Kristen Yadlosky
                                                    Georgia Bar No. 779615
                                                    Hartman Simons & Wood LLP
                                                    400 Interstate North Parkway, SE, Suite 600
                                                    Atlanta, Georgia 30339
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                                                    todd.surden@hartmansimons.com
                                                    kristen.yadlosky@hartmansimons.com
                                                    Counsel for Sun Court Partners, LP




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 26th day of May, 2022, she caused a true and
correct copy of the foregoing document to be served electronically on the parties registered to
receive ECF notification from the Court, and that she served the foregoing document by
depositing a copy of same in the United States mail in an envelope properly addressed to the
following, with adequate postage thereon to ensure proper delivery on the following:


 Debtor                                       represented by    Atlanta Light Bulbs, Inc.
 Atlanta Light Bulbs, Inc.                                      PRO SE
 2109 Mountain Industrial Blvd.
 Tucker, GA 30084

 Petition Creditor                            represented by    John C. Cannizzaro
 Halco Lighting Technologies, LLC                               Ice Miller LLP
 2940 Pacific Drive                                             250 West Street, Suite 700
 Norcross, GA 30071                                             Columbus, OH 43215
                                                                John.cannizzaro@icemiller.com

                                                                Kathleen G. Furr
                                                                Baker Donelson
                                                                3414 Peachtree Road, NE
                                                                Suite 1500, Monarch Plaza
                                                                Atlanta, GA 30326
                                                                kfurr@bakerdonelson.com

                                                                Jason M. Torf
                                                                Ice Miller LLP
                                                                200 W. Madison Street
                                                                Suite 3500
                                                                Chicago, IL 60606
                                                                Jason.Torf@icemiller.com

 Petition Creditor                            represented by    John C. Cannizzaro
 Candela Corporation                                            (see address above)
 5600 Argosy Ave., Suite 300
 Huntington Beach, CA 92649                                     Kathleen G. Furr
                                                                (see address above)

                                                                Jason M. Torf
                                                                (see address above)




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 Petition Creditor                           represented by   John C. Cannizzaro
 Norcross Electric Supply Company                             (see address above)
 4190 Capital View Drive
 Suwanee, GA 30024                                            Kathleen G. Furr
                                                              (see address above)

                                                              Jason M. Torf
                                                              (see address above)

 U.S. Trustee                                represented by   Thomas Dworschak
 United States Trustee                                        Office of the U.S. Trustee
 362 Richard Russell Federal Building                         Room 362
 75 Ted Turner Drive, SW                                      75 Ted Turner Drive, SW
 Atlanta, GA 30303                                            Atlanta, GA 30303
                                                              Thomas.w.dworschak@usdoj.gov

                                                  /s/ Kristen A. Yadlosky
                                                  Kristen A. Yadlosky




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